                                                                               1179
 Case: 1:15-cv-01164 Document #: 329 Filed: 09/26/18 Page 1 of 10 PageID #:10552




1                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
2                                  EASTERN DIVISION

3     MONETTE SACCAMENO                          )   Docket No. 15 C 01164
                                                 )
4                        Plaintiff,              )   Chicago, Illinois
                                                 )   April 11, 2018
5                  v.                            )   2:49 p.m.
                                                 )
6     OCWEN LOAN SERVICING, LLC, and             )
      U.S. BANK NATIONAL ASSOCIATION,            )
7     as trustee for C-BASS MORTGAGE             )
      LOAN ASSET-BACKED CERTIFICATES,            )
8     Series 2007 RPI,                           )
                                                 )
9                        Defendants.             )

10                                  VOLUME 7
                       TRANSCRIPT OF PROCEEDINGS - Trial
11            BEFORE THE HONORABLE JOAN B. GOTTSCHALL, and a Jury

12    APPEARANCES:

13    For the Plaintiff:         NICK WOOTEN, LLC, by
                                 MR. NICK WOOTEN
14                               4935 Bay Hill Drive
                                 Conway, AR 72034
15
                                 SULAIMAN LAW GROUP, LTD., by
16                               MR. MOHAMMED O. BADWAN
                                 MR. ROSS M. ZAMBON
17                               2500 South Highland Avenue
                                 Suite 200
18                               Lombard, IL60148

19    For the Defendants:        DUANE MORRIS, LLP, by
                                 MR. ALEXANDER D. BONO
20                               MS. LYNNE E. EVANS
                                 MS. KELLY K. HUFF
21                               30 South 17th Street
                                 Philadelphia, PA 19103
22
      Court Reporter:            LISA H. BREITER, CSR, RMR, CRR
23                               Official Court Reporter
                                 219 S. Dearborn Street, Room 1854B
24                               Chicago, IL 60604
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25                               lisa_breiter@ilnd.uscourts.gov
                                                                               1180
 Case: 1:15-cv-01164 Document #: 329 Filed: 09/26/18 Page 2 of 10 PageID #:10553




1          (In open court outside the presence of the jury.)

2                 THE COURT:     The jury has reached a verdict signed by

3     Robert H. Ward, is it?

4                 MR. BONO:    Ward.

5                 THE COURT:     Ward at 2:28 p.m.      So can we get the jury?

6     No questions.      They were here before 9:30.         They've just been

7     working.

8                 Does either side want the jury polled if the verdict

9     is adverse?

10                MR. WOOTEN:     Plaintiff does not, your Honor.

11                MR. BONO:    Your Honor, they're signing, so I don't

12    know that polling really gives us anything extra.

13                THE COURT:     But it keeps me from getting screamed at

14    and reversed by the Court of Appeals if you want it.

15                MR. BONO:    I'm glad to have it polled after we win

16    so...

17                THE COURT:     Okay.   But if you lose, you don't care?

18                MR. BONO:    We can poll them, your Honor, yes.           Let's

19    poll.

20                THE COURT:     You want them polled, okay.         No, I don't

21    do it because I love to do it, but you have the right to

22    request it.

23         (Jury enters courtroom at 2:51 p.m.)

24                THE COURT:     Please be seated, everyone.

25    Mr. Foreperson, has the jury reached a verdict.
                                                                               1181
 Case: 1:15-cv-01164 Document #: 329 Filed: 09/26/18 Page 3 of 10 PageID #:10554




1                 JUROR WARD:     Yes, the jury's reached a verdict.

2                 THE COURT:     Could you please hand it to the marshal.

3          (Document tendered to the Court.)

4                 THE COURT:     Thank you very much.       What's going to

5     happen is I am going to read -- you can be seated.               I'm going

6     to read this verdict.        And after I read the verdict, there may

7     be some follow-up questions, but let's see what -- so it's

8     important -- I may have to ask you if I read it correctly

9     basically with the question is this -- "Was this and is this

10    now your verdict?"

11                I may or may not have to, but if I do, it's just

12    important for you to make sure that I've read the verdict

13    correctly.

14                Verdict.    We, the jury, return the following verdict:

15    One, on the breach of contract claim, Count 1, do you find for

16    plaintiff or for defendants?

17                The jury has indicated plaintiff.

18                Count 2 or paragraph 2.        On the Federal Debt

19    Collection Practice Act, FDCPA claim, Count 2, do you find for

20    plaintiff or for defendant Ocwen?

21                Jury has indicated for plaintiff.

22                Three.    On the Real Estate Settlement and Procedures

23    Act, RESPA claim, Count 4, do you find for plaintiff or for

24    defendant Ocwen?

25                The jury indicates for plaintiff.
                                                                               1182
 Case: 1:15-cv-01164 Document #: 329 Filed: 09/26/18 Page 4 of 10 PageID #:10555




1                 Then it says if you found for plaintiff on Counts 1, 2

2     or 4, then you may award actual damages.             Question 4, what

3     amount do you award in actual damages?

4                 The jury has indicated $500,000.

5                 Five, on the Illinois Consumer Fraud and Deceptive

6     Business Practices Act claim, ICFA, Count 3, do you find for

7     plaintiff or for defendants?

8                 Jury has indicated for plaintiff.          Then it says no.

9                 Only answer question 5A if you found for plaintiff on

10    question 5.      5A, do you find that plaintiff sustained an

11    economic loss because of the ICFA violation?

12                The jury has indicated yes.

13                5B, if yes, what amount of damages do you award for

14    economic loss?

15                The jury has indicated $12,000.

16                Note:   Only answer question 5C if you answered "yes"

17    on question 5A.

18                5C, do you find that plaintiff sustained a

19    non-economic loss because of the ICFA violation?               The jury has

20    indicated yes.

21                5D, if yes, what amount of damages do you award for

22    non-economic loss?

23                The jury has indicated $70,000.

24                Note:   Only answer question 5E if you found "yes" on

25    question 5A.
                                                                               1183
 Case: 1:15-cv-01164 Document #: 329 Filed: 09/26/18 Page 5 of 10 PageID #:10556




1                 5E, do you award punitive damages?           The jury has

2     indicated yes.

3                 5F, if yes, what amount of punitive damages?

4                 The jury has indicated $3 million.

5                 The verdict form is signed by the foreperson and

6     signed by all members of the jury and properly dated.

7                 Now, the question I'm going to ask of each of you,

8     ladies and gentlemen, is "Was this and is this now your

9     verdict?"

10                What that means is was this the verdict you reached in

11    the jury room, and is this your verdict.             So I must ask each of

12    you this question individually, and I'll begin with

13    Mr. Drougas, was this and is this now your verdict?

14                JUROR DROUGAS:      Yes.

15                THE COURT:     Mr. Fleurisca.

16                JUROR FLEURISCA:      Yes.

17                THE COURT:     Was this and is this now your verdict?

18                Ms. Ingram, was this and is this now your verdict?

19                JUROR INGRAM:     Yes.

20                THE COURT:     Mr. Jackson, was this and is this now your

21    verdict?

22                JUROR JACKSON:      Yes, ma'am.

23                THE COURT:     Ms. Jimenez, was this and is this now your

24    verdict?

25                JUROR JIMENEZ:      Yes.
                                                                               1184
 Case: 1:15-cv-01164 Document #: 329 Filed: 09/26/18 Page 6 of 10 PageID #:10557




1                 THE COURT:     Ms. Petracek, was this and is this now

2     your verdict?

3                 JUROR PETRACEK:      Yes.

4                 THE COURT:     Ms. Poremba, was this and is this now your

5     verdict?

6                 JUROR POREMBA:      Yes.

7                 THE COURT:     Ms. Rudich, was this and is this now your

8     verdict?

9                 MS. RUDICH:     Yes.

10                THE COURT:     Ms. Simmons, was this and is this now your

11    verdict?

12                JUROR SIMMONS:      Yes.

13                THE COURT:     Ms. Sulekic -- is it Sulekic?

14                JUROR SULEKIC:      Sulekic.

15                THE COURT:     Sulekic.     Was this and is this now your

16    verdict?

17                JUROR FLEURISCA:       Yes.

18                THE COURT:     Mr. Ward, was this and is this now your

19    verdict?

20                JUROR WARD:     Yes.

21                THE COURT:     And Ms. Yoches, was this and is this now

22    your verdict?

23                JUROR YOCHES:     Yes.

24                THE COURT:     And so say you all?

25                THE JURORS:     Yes.
                                                                               1185
 Case: 1:15-cv-01164 Document #: 329 Filed: 09/26/18 Page 7 of 10 PageID #:10558




1                 THE COURT:     That asks for all of you to respond.

2                 THE JURORS:     Yes.

3                 THE COURT:     Ladies and gentlemen, thank you for your

4     service.     You have been a very attentive and I must say

5     non-complaining jury, which I really appreciate.

6                 You are now discharged from this case.            You are free

7     to talk about the case as much or as little as you want.                 I

8     have some cards which I left in my office which I'm going to

9     get for you.      They are from a jury study project at New York

10    University, and they asked me to distribute the cards to

11    members of juries.

12                And then if you want to participate in whatever

13    they're doing, they're trying to collect some information about

14    what people like and don't like about serving on juries.

15    There's a website you can go to if you're interested in that.

16    If you don't want to, you don't have to.

17                If anybody wants to talk to you about this case or

18    tries to talk to you about this case and you do not want to

19    talk to them, please feel free to call the court, the jury

20    department or to call me or my office, and we will try to

21    intervene for you.       But I doubt that that's going to happen,

22    but just so you know that help is there if you need it.

23                But as I say, it's entirely up to you from now on.

24    You are discharged.        If you have a few minutes, I'd like to

25    come back and greet you all in the jury room.
                                                                               1186
 Case: 1:15-cv-01164 Document #: 329 Filed: 09/26/18 Page 8 of 10 PageID #:10559




1                 If you need to leave, you are free to leave, and you

2     should feel that you can do that whenever you want to do it.

3     But if you give me just five minutes or so to finish a few

4     things I have to deal with in court, I will come back and talk

5     to you personally.

6                 Again, thank you so much of your service on behalf of

7     the court system.

8                 THE MARSHAL:     All rise.

9          (Jury exits courtroom at 2:57 p.m.)

10                THE COURT:     Okay.   Anybody need any scheduling time

11    anything?     Motions?     I'm not sure I have any power to change

12    the deadlines in the rules, but anybody, anything?

13                MR. BONO:    No, your Honor.

14                THE COURT:     Okay.   All right.

15                MR. BONO:    Your Honor, I like to talk to jurors after

16    they're released, and I don't think there's a local rule here.

17    Some courts don't allow it.

18                THE COURT:     No, you know what I --

19                MR. BONO:    When you meet with them, share with them

20    that I like to talk to the jurors just to find out things about

21    how the trial went.

22                THE COURT:     Yes.    What I will do --

23                MR. BONO:    They don't have to, but --

24                THE COURT:     No, I will --

25                MR. BONO:    -- if they're interested, I would love it.
                                                                               1187
 Case: 1:15-cv-01164 Document #: 329 Filed: 09/26/18 Page 9 of 10 PageID #:10560




1                 THE COURT:     What I will do is go back there and I will

2     ask them if they are agreeable, okay.            And if they are, I will

3     come back and get you.        I'd like to talk to them for a few

4     minutes myself, five or so, but then I'll come back and let you

5     know.    I don't know, Mr. Wooten, if you have any interest.

6                 MR. WOOTEN:     My only position on that, your Honor, is

7     Judge Durkin allows that too, in Ms. Hammer's case that we

8     tried with him.

9                 But what he did was impose a rule on both sides that

10    nothing that was said to them could be used to try to impeach

11    the verdict.

12                THE COURT:     Well, yes, that is the rule, but I'm also

13    going to be telling the jury in the first five minutes that if

14    they do want to talk to the attorneys, they should not talk

15    about how they reached their decision.

16                MR. WOOTEN:     Sure.

17                THE COURT:     Okay?    All right.

18                MR. WOOTEN:     I'd love to talk to them, your Honor.

19                THE COURT:     Okay.

20                MR. BONO:    We'll be here.      We got some things to put

21    together.

22                THE COURT:     Give me five or ten minutes to talk to

23    them myself and then I will -- what I'll do is any of them who

24    don't want to talk, I'll let them go, and the rest of them,

25    they'll wait and be there to talk to you, okay?
                                                                              1188
Case: 1:15-cv-01164 Document #: 329 Filed: 09/26/18 Page 10 of 10 PageID #:10561




1                MR. WOOTEN:     Thank you, your Honor.

2                THE COURT:     These are the NYU Civil Jury Project, and

3     that's what I'm going to hand out to them.

4          (Concluded at 3:00 p.m.)

5                                * * * * * * * * * *

6                               C E R T I F I C A T E

7          I certify that the foregoing is a correct transcript of the

8     record of proceedings in the above-entitled matter.

9

10    /s/ LISA H. BREITER__________________                  April 12, 2018
      LISA H. BREITER, CSR, RMR, CRR
11    Official Court Reporter

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